     Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 1 of 25 PageID #: 1




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
–––––––––––––––––––––––––––––––––––––––––             x
Luis Chabla, individually on                          :
behalf of himself and all others similarly            :
situated,                                             :   Case No.
                                                      :
                 Plaintiff,                           :
v.                                                    :
                                                      :
                                                      :   CLASS ACTION COMPLAINT
Edgewell Personal Care Company, Edgewell              :
Personal Care Brands, LLC, Edgewell Personal          :     JURY TRIAL DEMANDED
Care, LLC, Playtex Products, LLC and Sun              :
Pharmaceuticals, LLC,                                 :
                                                      :
            Defendants.
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                     Plaintiff Luis Chabla (hereinafter “Plaintiff”), individually and on behalf of all

     others similarly situated, by his attorneys, alleges the following upon information and belief,

     except for those allegations pertaining to Plaintiff, which are based on personal knowledge:

                                       NATURE OF THE ACTION

            1.       This action seeks to remedy the deceptive and misleading business practices of

     Edgewell Personal Care Company; Edgewell Personal Care Brands, LLC; Edgewell Personal

     Care, LLC; Playtex Products, LLC; and Sun Pharmaceuticals, LLC (hereinafter collectively

     “Defendants”) with respect to the marketing and sale of various sunscreen products throughout the

     state of New York and throughout the country, including, but not limited to, the following products

     (hereinafter collectively the “Products”):

                 ● Banana Boat UltraMist Deep Tanning Dry Oil Continuous Clear Spray SPF 4;

                 ● Banana Boat Kids Max Protect & Play Sunscreen C-Spray SPF 100;

                 ● Banana Boat Ultra Sport Clear Sunscreen Spray SPF 100;

                 ● Banana Boat Kids Sport Sunscreen Lotion Spray SPF 50;

                                                     1
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 2 of 25 PageID #: 2




                ● Banana Boat Protective Dry Oil Clear Sunscreen Spray with Coconut Oil SPF 15;

                ● Banana Boat Simply Protect Kids Sunscreen Spray SPF 50+; and

                ● Banana Boat Ultra Defense Ultra Mist Clear Sunscreen Spray SPF 100.

           2.       Defendants do specifically list both the active and inactive ingredients of these

Products but fail to disclose that the product contains “benzene.”

           3.       Benzene is a widely recognized and incredibly dangerous substance, especially in

the context of applying it to the skin.

           4.       Benzene has been recognized, acknowledged, and accepted as a well-known health

hazard and human carcinogen for approximately a century. 1

           5.       For example, Benzene is known to harm the bone marrow and long exposure can

lead to blood cancer, such as leukemia. 2

           6.       Consumers like the Plaintiff trust manufacturers such as Defendants to sell Products

that are safe and free from harmful known toxins, including benzene.

           7.       Plaintiff and those similarly situated (hereinafter “Class Members”) certainly

expect that the sunscreen they purchase will comply with its labeling and not contain any

knowingly harmful substances like benzene.

           8.       Defendants’ specifically manufacture, sell, and distribute the Products in this

manner using a marketing and advertising campaign centered around claims that appeal to health-

conscious consumers.

           9.       For example, Defendants’ marketing and advertising campaign includes the one

place that every consumer looks when purchasing a product—the packaging and labels themselves.



1
    https://pubmed.ncbi.nlm.nih.gov/17718179/
2
    https://emergency.cdc.gov/agent/benzene/basics/facts.asp


                                                          2
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 3 of 25 PageID #: 3




Consumers expect the ingredient listing on the packaging and labels to accurately disclose

the ingredients within the Products.

       10.     However, Defendants’ advertising and marketing campaign is false, deceptive, and

misleading because the Products contain benzene, which Defendant does not list or mention

anywhere on the Products’ packaging or labeling.

       11.     Plaintiff and Class Members relied on Defendants’ misrepresentations and

omissions of what is in the Products when they purchased them.

       12.     Consequently, Plaintiff and Class Members lost the entire benefit of their bargain

when what they received was a sunscreen product contaminated with a known carcinogen.

       13.     That is because Defendant's Products containing a known human carcinogen have

no value.

       14.     As set forth below, sunscreen products that contain benzene are in no way safe for

humans and are entirely worthless.

       15.     Accordingly, Defendants’ conduct violated and continues to violate, inter alia,

New York General Business Law §§ 349 and 350. Defendants also breached and continue to

breach their warranties regarding the Products. In addition, Defendants have been and continue to

be unjustly enriched. Lastly, Plaintiff brings a claim for medical monitoring costs associated with

testing, monitoring, and remediating the effects of their benzene exposure.

       16.     Plaintiff brings this action against Defendants on behalf of himself and Class

Members who purchased the Products during the applicable statute of limitations period (the

“Class Period”).




                                                3
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 4 of 25 PageID #: 4




                                       FACTUAL BACKGROUND

           17.     Consumers have become increasingly concerned about the effects of synthetic and

chemical ingredients in products that they and their family members put on and/or into their bodies.

Companies such as Defendants have capitalized on consumers’ desire for healthy and safe

products, and indeed consumers are willing to pay, and have paid, a premium for these products.

           18.     Consumers lack the meaningful ability to test or independently ascertain or verify

whether a product contains unsafe substances, such as benzene, especially at the point of sale, and

therefore must and do rely on Defendants to truthfully and honestly report what the Products

contain on the Products’ packaging or labels.

           19.     When consumers look at the Products' packaging there is no mention of benzene.

Benzene is not listed in the ingredients section, nor is there any warning about the inclusion (or

even potential inclusion) of benzene in the Products. This leads reasonable consumers to believe

the Products do not contain dangerous chemicals like benzene.

           20.     However, despite this, the Products contain benzene.

           21.     21st century research has confirmed that there is no safe level of benzene

exposure. 3

           22.     Benzene has been recognized, acknowledged, and accepted as a well-known health

hazard and human carcinogen for approximately a century. 4

           23.     The National Toxicology Program (hereinafter “NTP”) has regarded benzene as

“known to be a human carcinogen based on sufficient evidence of carcinogenicity from studies in




3
    https://www.annualreviews.org/doi/full/10.1146/annurev.publhealth.012809.103646
4
    https://pubmed.ncbi.nlm.nih.gov/17718179/

                                                        4
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 5 of 25 PageID #: 5




humans.” 5 Benzene has also been “found to be carcinogenic to humans” by the International

Agency for Research on Cancer (hereinafter “IARC”).

        24.      According to the Center for Disease Control (“CDC”), benzene can cause severe

health issues such as anemia, immune system damage, and cancer. 6

        25.      Direct benzene exposure through the skin is particularly concerning. For example,

“[d]irect exposure of the eyes, skin, or lungs to benzene can cause tissue injury and irritation.” 7

        26.      Research also has revealed that sunscreen ingredients can be absorbed into the

bloodstream. 8

        27.      Moreover, a study by Health Canada’s Bureau of Chemical Hazards concluded that

the application of sunscreen specifically increases the absorption rate of benzene through the skin,

thereby increasing the risk of harm. 9

        28.      Even low levels of benzene are particularly dangerous in a sunscreen product

because “[s]unscreen products are typically used in many times higher volume than standard drug

products like tablets or capsules, so even a relatively low concentration limit can result in very

high total [benzene] exposure.” 10

        29.      Experts in the field of dermatology agree with this assessment. For example,

Christopher Bunick, a professor of dermatology at Yale University has stated:

                 Considering that human skin has a large total surface area (~1.85
                 m2), and that ~28.5 g of sunscreen is needed per application to
                 properly cover that skin surface, it follows then that there is not a
                 safe level of benzene that can exist in sunscreen products. The total
                 mass of sunscreen required to cover and protect the human body, in
                 single daily application or repeated applications daily, means that

5
  https://ntp.niehs.nih.gov/ntp/roc/content/profiles/benzene.pdf
6
  https://emergency.cdc.gov/agent/benzene/basics/facts.asp
7
  Id.
8
  https://abcnews.go.com/Health/sunscreen-absorbed-bloodstream-testing-needed/story?id=68442221
9
  https://www.valisure.com/blog/valisure-news/valisure-detects-benzene-in-sunscreen/
10
   https://www.valisure.com/wp-content/uploads/Valisure-Citizen-Petition-on-Benzene-in-Sunscreen-and-After-sun-
Care-Products-v9.7.pdf/, at 16.

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Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 6 of 25 PageID #: 6




                 even benzene at 0.1 ppm in a sunscreen could expose people to
                 excessively high nanogram amounts of benzene. 11

        30.      This is why recent research revealing benzene in Defendants’ Products is

particularly concerning.

        31.      Valisure LLC recently published a study (“Study”) that found that benzene has been

found in many sunscreens. 12

        32.      In addition to Plaintiff’s own research, Valisure also found that Defendants’

Products contained benzene. 13

        33.      The concerning part is that benzene exposure in the manufacturing process can be

specifically avoided so that the Products could have absolutely no benzene in them. 14

        34.      Therefore,     Defendants’       false,   misleading,      omissions,      and     deceptive

misrepresentations regarding the ingredients of the Products are likely to continue to deceive and

mislead reasonable consumers and the public, as they have already deceived and misled Plaintiff

and the Class Members.

        35.      Defendants’ concealment was material and intentional because people are

concerned with what is in the products that they are putting onto and into their bodies. Consumers

such as Plaintiff and the Class Members are influenced by the ingredients listed. Defendants know

that if it had not omitted that the Products contained benzene, then Plaintiff and the Class would

not have purchased the Products at all.




11
   Id. at 17.
12
   https://www.valisure.com/blog/valisure-news/valisure-detects-benzene-in-sunscreen/
13
   Id.
14
   https://www.valisure.com/wp-content/uploads/Valisure-Citizen-Petition-on-Benzene-in-Sunscreen-and-After-sun-
Care-Products-v9.7.pdf, at 2.


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Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 7 of 25 PageID #: 7




                                 JURISDICTION AND VENUE

       36.     This Court has subject matter jurisdiction under the Class Action Fairness Act, 28

U.S.C. section §1332(d) in that (1) this is a class action involving more than 100 class members;

(2) Plaintiff is a citizen of New York, Defendant Edgewell Personal Care Company is a citizen of

Missouri, Defendant Edgewell Personal Care Brands, LLC is a citizen of Connecticut, Defendant

Edgewell Personal Care, LLC is a citizen of Connecticut, Defendant Playtex Products, LLC is a

citizen of Missouri, and Defendant Sun Pharmaceuticals, LLC is a citizen of Delaware; and (3) the

amount in controversy is in excess of $5,000,000, exclusive of interests and costs.

       37.     This Court has personal jurisdiction over Defendants because Defendants conduct

and transact business in the state of New York, contract to supply goods within the state of New

York, and supply goods within the state of New York.

       38.     Venue is proper because Plaintiff and many Class Members reside in the Eastern

District of New York, and throughout the state of New York. A substantial part of the events or

omissions giving rise to the Classes’ claims occurred in this district.

                                             PARTIES

Plaintiff

       39.     Plaintiff Luis Chabla is a citizen and resident of the state of New York. During the

applicable statute of limitations period, Plaintiff purchased Defendants’ Products that contained

benzene, including, but not limited to, the Banana Boat Continuous SPF 15 Spray Dry Oil With

Argan Oil.

       40.     Had Defendants not made the false, misleading, and deceptive representations and

omissions regarding the Products containing benzene, Plaintiff would not have been willing to

purchase the Products. Plaintiff purchased, purchased more of, and/or paid more for, the Products



                                                  7
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 8 of 25 PageID #: 8




than he would have had he known the truth about the Products. The Products Plaintiff received

were worthless because they contain the known carcinogen benzene. Accordingly, Plaintiff was

injured in fact and lost money as a result of Defendants’ improper conduct.

Defendants

       41.     Defendant, Edgewell Personal Care Company is a domestic corporation with its

headquarters and principal place of business located in St. Louis, Missouri. Edgewell Personal

Care Company conducts business throughout the United States, including this district. Edgewell

Personal Care Company is a conglomerate and owns some of the world’s leading brands for

shaving, grooming, sun care, feminine care, and skin care products, and distributes its products,

including those at issue herein, throughout the United States. Edgewell Personal Care Company’s

line of sunscreen products, including the Banana Boat sunscreen products purchased by Plaintiff

and Class Members, are available at retail stores throughout New York and United States.

       42.     Defendant, Edgewell Personal Care Brands, LLC is a Delaware Limited Liability

Corporation with its headquarters in Shelton, Connecticut. Edgewell Personal Brands, LLC

conducts business throughout the United States, including this district. Edgewell Personal Care

Brands, LLC is a wholly owned subsidiary of and/or 100% controlled by Edgewell Personal Care

Company, which is also responsible for the manufacturing, marketing, advertising, and distributing

of the Products.

       43.     Defendant, Edgewell Personal Care, LLC is a Delaware Limited Liability

Corporation with its headquarters in Shelton, Connecticut. Edgewell Personal Care, LLC conducts

business throughout the United States, including this district. Edgewell Personal Care, LLC is a

wholly owned subsidiary of and/or 100% controlled by Edgewell Personal Care Company, which

is also responsible for the manufacturing, marketing, advertising, and distributing of the Products.



                                                 8
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 9 of 25 PageID #: 9




          44.   Defendant, Playtex Products, LLC is a Delaware foreign limited liability company

with its headquarters and principal place of business located in St. Louis, Missouri and a subsidiary

of Edgewell Personal Care Company. Playtex Products, LLC conducts business throughout the

United States, including this district, which is also responsible for the manufacturing, marketing,

advertising, and distributing of the Products.

          45.   Defendant, Sun Pharmaceuticals, LLC is a Delaware limited liability company with

its headquarters and principal place of business located in Shelton, Connecticut.                Sun

Pharmaceuticals, LLC conducts business throughout the United States, including this district. Sun

Pharmaceuticals, LLC is a subsidiary of Edgewell Personal Care Company and is also responsible

for the manufacturing, marketing, advertising, and distributing of the Banana Boat sunscreen

products.

          46.   Defendants’ manufacture, market, advertise, and distribute the Products throughout

the United States. Defendants created and/or authorized the false, misleading, and deceptive

advertisements, packaging, and labeling of their Products.

                                    CLASS ALLEGATIONS

          47.   Plaintiff brings this matter on behalf of himself and those similarly situated. As

detailed at length in this Complaint, Defendants orchestrated deceptive marketing and labeling

practices. Defendants’ customers were uniformly impacted by and exposed to this misconduct.

Accordingly, this Complaint is uniquely situated for class-wide resolution, including injunctive

relief.

          48.   The Class is defined as all consumers who purchased the Products anywhere in the

United States during the Class Period.




                                                 9
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 10 of 25 PageID #: 10




        49.    Plaintiff also seeks certification, to the extent necessary or appropriate, of a subclass

 of individuals who purchased the Products in the state of New York at any time during the Class

 Period (the “New York Subclass”).

        50.    The Class and New York Subclass shall be referred to collectively throughout the

 Complaint as the Class.

        51.    The Class is properly brought and should be maintained as a class action under Rule

 23(a), satisfying the class action prerequisites of numerosity, commonality, typicality, and

 adequacy because:

        52.    Numerosity: Class Members are so numerous that joinder of all members is

 impracticable. Plaintiff believes that there are thousands of consumers in the Class and the New

 York Class who are Class Members as described above who have been damaged by Defendants’

 deceptive and misleading practices.

        53.    Commonality: The questions of law and fact common to the Class Members which

 predominate over any questions which may affect individual Class Members include, but are not

 limited to:

               a. Whether Defendants are responsible for the conduct alleged herein which was

                     uniformly directed at all consumers who purchased the Products;

               b. Whether Defendants’ misconduct set forth in this Complaint demonstrates that

                     Defendants have engaged in unfair, fraudulent, or unlawful business practices

                     with respect to the advertising, marketing, and sale of their Products;

               c. Whether Defendants made false and/or misleading statements and omissions to

                     the Class and the public concerning the contents of their Products;




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Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 11 of 25 PageID #: 11




                d. Whether Defendants’ false and misleading statements and omissions

                    concerning their Products were likely to deceive the public; and

                e. Whether Plaintiff and the Class are entitled to money damages under the same

                    causes of action as the other Class Members?

        54.     Typicality: Plaintiff is a member of the Class. Plaintiff’s claims are typical of the

 claims of each Class Member in that every member of the Class was susceptible to the same

 deceptive, misleading conduct and purchased Defendants’ Products. Plaintiff is entitled to relief

 under the same causes of action as the other Class Members.

        55.     Adequacy: Plaintiff is an adequate Class representative because his interests do not

 conflict with the interests of the Class Members he seeks to represent, his consumer fraud claims

 are common to all members of the Class, he has a strong interest in vindicating his rights, he has

 retained counsel competent and experienced in complex class action litigation, and counsel intends

 to vigorously prosecute this action.

        56.     Predominance: Pursuant to Rule 23(b)(3), common issues of law and fact identified

 above predominate over any other questions affecting only individual members of the Class. The

 Class issues fully predominate over any individual issues because no inquiry into individual

 conduct is necessary; all that is required is a narrow focus on Defendants’ deceptive and misleading

 marketing and labeling practices.

        57.     Superiority: A class action is superior to the other available methods for the fair

 and efficient adjudication of this controversy because:

                a.     The joinder of thousands of individual Class Members is impracticable,
                cumbersome, unduly burdensome, and a waste of judicial and/or litigation
                resources;

                b.    The individual claims of the Class Members may be relatively modest
                compared with the expense of litigating the claims, thereby making it impracticable,

                                                 11
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 12 of 25 PageID #: 12




                unduly burdensome, and expensive—if not totally impossible—to justify
                individual actions;

                c.      When Defendants’ liability has been adjudicated, all Class Members’
                claims can be determined by the Court and administered efficiently in a manner far
                less burdensome and expensive than if it were attempted through filing, discovery,
                and trial of all individual cases;

                d.     This class action will promote orderly, efficient, expeditious, and
                appropriate adjudication and administration of Class claims;

                e.      Plaintiff knows of no difficulty to be encountered in the management of this
                action that would preclude its maintenance as a class action;

                f.      This class action will assure uniformity of decisions among Class Members;

                g.      The Class is readily definable and prosecution of this action as a class action
                will eliminate the possibility of repetitious litigation;

                h.      Class Members’ interests in individually controlling the prosecution of
                separate actions is outweighed by their interest in efficient resolution by single class
                action; and

                i.     It would be desirable to concentrate in this single venue the litigation of all
                Class Members who were induced by Defendants’ uniform false advertising to
                purchase their Products.

        58.     Accordingly, this Class is properly brought and should be maintained as a class

 action under Rule 23(b)(3) because questions of law or fact common to Class Members

 predominate over any questions affecting only individual members, and because a class action is

 superior to other available methods for fairly and efficiently adjudicating this controversy.




                                                  12
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 13 of 25 PageID #: 13




                                  INJUNCTIVE CLASS RELIEF

        59.     Rules 23(b)(1) and (2) contemplate a class action for purposes of seeking class-

 wide injunctive relief.    Here, Defendants have engaged in conduct resulting in misleading

 consumers about ingredients in the Products. Since Defendants’ conduct has been uniformly

 directed at all consumers in the United States, and the conduct continues presently, injunctive relief

 on a class-wide basis is a viable and suitable solution to remedy Defendants’ continuing

 misconduct. Plaintiff would purchase the Products again if they did not include benzene.

        60.     The injunctive Class is properly brought and should be maintained as a class action

 under Rule 23(a), satisfying the class action prerequisites of numerosity, commonality, typicality,

 and adequacy because:

                a.     Numerosity: Individual joinder of the injunctive Class Members would be
                wholly impracticable. Defendants’ Products have been purchased by thousands of
                people throughout the United States.

                b.      Commonality: Questions of law and fact are common to members of the
                Class. Defendants’ misconduct was uniformly directed at all consumers. Thus, all
                members of the Class have a common cause against Defendants to stop their
                misleading conduct through an injunction. Since the issues presented by this
                injunctive Class deal exclusively with Defendants’ misconduct, resolution of these
                questions would necessarily be common to the entire Class. Moreover, there are
                common questions of law and fact inherent in the resolution of the proposed
                injunctive class, including, inter alia:

                       i.Resolution of the issues presented in the 23(b)(3) class;

                      ii.Whether members of the Class will continue to suffer harm by virtue of
                         Defendants’ deceptive product marketing and labeling; and

                     iii.Whether, on equitable grounds, Defendants should be prevented from
                         continuing to deceptively mislabel the Products?

                c.      Typicality: Plaintiff’s claims are typical of the claims of the injunctive Class
                because his claims arise from the same course of conduct (i.e., Defendants’
                deceptive and misleading marketing, labeling, and advertising practices). Plaintiff
                is a typical representative of the Class because, like all members of the injunctive



                                                  13
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 14 of 25 PageID #: 14




                Class, he purchased Defendants’ Products which were sold unfairly and deceptively
                to consumers throughout the United States.

                d.      Adequacy: Plaintiff will fairly and adequately represent and protect the
                interests of the injunctive Class. His consumer protection claims are common to
                all members of the injunctive Class and he has a strong interest in vindicating his
                rights. In addition, Plaintiff and the Class are represented by counsel who is
                competent and experienced in both consumer protection and class action litigation.

        61.     Plaintiff seeks injunctive relief on behalf of the Class Members on grounds

 generally applicable to the entire injunctive Class and Defendants have acted or refused to act in a

 manner that applies generally to the injunctive Class (i.e., Defendants have marketed their Products

 using the same misleading and deceptive labeling to all of the Class Members).

        62.     Plaintiff also seeks to include an injunction to require the implementation and

 funding of a blood serum testing program for the Plaintiffs and Class Members to test for the

 presence of benzene in their blood serum; and the implementation and funding of a medical

 monitoring program for Plaintiff and Class Members sufficient to monitor Plaintiff and Class

 Members’ health to ensure they are adequately monitored for the harmful effects of benzene in the

 human body.

        63.     Any final injunctive relief or declaratory relief would benefit the entire injunctive

 Class as Defendants would be prevented from continuing their misleading and deceptive marketing

 practices and would be required to honestly disclose to consumers the true nature of the contents

 of the Products.

                                              CLAIMS

                                  FIRST CAUSE OF ACTION
                          VIOLATION OF NEW YORK GBL § 349
                    (On Behalf of Plaintiff and New York Subclass Members)

        64.     Plaintiff repeats and realleges each and every allegation contained in all the

 foregoing paragraphs as if fully set forth herein.

                                                  14
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 15 of 25 PageID #: 15




         65.     New York General Business Law Section 349 (“GBL § 349”) declares unlawful

 “[d]eceptive acts or practices in the conduct of any business, trade, or commerce or in the

 furnishing of any service in this state . . .”

         66.     The conduct of Defendants alleged herein constitutes recurring, “unlawful”

 deceptive acts and practices in violation of GBL § 349, and as such, Plaintiff and the New York

 Subclass Members seek monetary damages against Defendants, enjoining them from inaccurately

 describing, labeling, marketing, and promoting the Products.

         67.     There is no adequate remedy at law.

         68.     Defendants misleadingly, inaccurately, and deceptively advertise and market their

 Products to consumers.

         69.     Defendants’ improper consumer-oriented conduct—including failing to disclose

 that the Products have benzene—is misleading in a material way in that it, inter alia, induced

 Plaintiff and the New York Subclass Members to purchase Defendants’ Products and to use the

 Products when they otherwise would not have. Defendants made the untrue and/or misleading

 statements and omissions willfully, wantonly, and with reckless disregard for the truth.

         70.     Plaintiff and the New York Subclass Members have been injured inasmuch as they

 purchased products that were mislabeled, unhealthy, and entirely worthless. Accordingly, Plaintiff

 and the New York Subclass Members received less than what they bargained and paid for.

         71.     Defendants’ advertising and Products’ packaging and labeling induced Plaintiff and

 the New York Subclass Members to buy Defendants’ Products.

         72.     Defendants’ deceptive and misleading practices constitute a deceptive act and

 practice in the conduct of business in violation of New York General Business Law §349(a) and

 Plaintiff and the New York Subclass Members have been damaged thereby.



                                                  15
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 16 of 25 PageID #: 16




        73.     As a result of Defendants’ recurring, “unlawful” deceptive acts and practices,

 Plaintiff and the New York Subclass Members are entitled to monetary, statutory, compensatory,

 treble and punitive damages, restitution, and disgorgement of all moneys obtained by means of

 Defendants’ unlawful conduct, interest, and attorneys’ fees and costs.

                               SECOND CAUSE OF ACTION
                         VIOLATION OF NEW YORK GBL § 350
                 (On Behalf of Plaintiff and the New York Subclass Members)

        74.     Plaintiff repeats and realleges each and every allegation contained in all the

 foregoing paragraphs as if fully set forth herein.

        75.     N.Y. Gen. Bus. Law § 350 provides, in part, as follows:

                False advertising in the conduct of any business, trade, or commerce
                or in the furnishing of any service in this state is hereby declared
                unlawful.

        76.     N.Y. Gen. Bus. Law § 350a(1) provides, in part, as follows:

                The term ‘false advertising, including labeling, of a commodity, or
                of the kind, character, terms or conditions of any employment
                opportunity if such advertising is misleading in a material respect.
                In determining whether any advertising is misleading, there shall be
                taken into account (among other things) not only representations
                made by statement, word, design, device, sound or any combination
                thereof, but also the extent to which the advertising fails to reveal
                facts material in the light of such representations with respect to the
                commodity or employment to which the advertising relates under
                the conditions proscribed in said advertisement, or under such
                conditions as are customary or usual . . .

        77.     Defendants’ labeling and advertisements contain untrue and materially misleading

 statements and omissions concerning its Products inasmuch as they misrepresent that the Products

 are safe for use and don’t list that the Products contain benzene.

        78.     Plaintiff and the New York Subclass Members have been injured inasmuch as they

 relied upon the labeling, packaging, and advertising and purchased Products that were mislabeled,



                                                  16
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 17 of 25 PageID #: 17




 unhealthy, and entirely worthless. Accordingly, Plaintiff and the New York Subclass Members

 received less than what they bargained and paid for.

        79.     Defendants’ advertising, packaging, and Products’ labeling induced Plaintiff and

 the New York Subclass Members to buy Defendants’ Products.

        80.     Defendants made their untrue and/or misleading statements and representations

 willfully, wantonly, and with reckless disregard for the truth.

        81.     Defendants’ conduct constitutes multiple, separate violations of N.Y. Gen. Bus.

 Law § 350.

        82.     Defendants made the material misrepresentations described in this Complaint in its

 advertising and on the Products’ packaging and labeling.

        83.     Defendants’ material misrepresentations were substantially uniform in content,

 presentation, and impact upon consumers at large. Moreover, all consumers purchasing the

 Products were and continue to be exposed to Defendants’ material misrepresentations.

        84.     As a result of Defendants’ recurring, “unlawful” deceptive acts and practices,

 Plaintiff and New York Subclass Members are entitled to monetary, statutory, compensatory,

 treble and punitive damages, restitution, and disgorgement of all moneys obtained by means of

 Defendants’ unlawful conduct, interest, and attorneys’ fees and costs.

                                 THIRD CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY
                          (On Behalf of Plaintiff and All Class Members)

        85.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

 paragraphs as if fully set forth herein.




                                                  17
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 18 of 25 PageID #: 18




        86.     Defendants provided Plaintiff and Class Members with an express warranty in the

 form of written affirmations of fact promising and representing that the Products are safe for use

 and do not contain benzene.

        87.     The above affirmations of fact were not couched as “belief” or “opinion,” and were

 not “generalized statements of quality not capable of proof or disproof.”

        88.     These affirmations of fact became part of the basis for the bargain and were material

 to Plaintiff and Class Members’ transactions.

        89.     Plaintiff and Class Members reasonably relied upon Defendants’ affirmations of

 fact and justifiably acted in ignorance of the material facts omitted or concealed when they decided

 to buy Defendants’ Products.

        90.     Defendants knowingly breached the express warranties by including benzene in the

 Products sold to Plaintiff and the Class without properly notifying them of their inclusion in the

 Products.

        91.     Within a reasonable time after it knew or should have known, Defendants did not

 change the Products’ labels to include benzene in the ingredient list.

        92.     Defendants thereby breached the following state warranty laws:

                a.      Code of Ala. § 7-2-313;

                b.      Alaska Stat. § 45.02.313;

                c.      A.R.S. § 47-2313;

                d.      A.C.A. § 4-2-313;

                e.      Cal. Comm. Code § 2313;

                f.      Colo. Rev. Stat. § 4-2-313;

                g.      Conn. Gen. Stat. § 42a-2-313;



                                                  18
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 19 of 25 PageID #: 19




            h.    6 Del. C. § 2-313;

            i.    D.C. Code § 28:2-313;

            j.    Fla. Stat. § 672.313;

            k.    O.C.G.A. § 11-2-313;

            l.    H.R.S. § 490:2-313;

            m.    Idaho Code § 28-2-313;

            n.    810 I.L.C.S. 5/2-313;

            o.    Ind. Code § 26-1-2-313;

            p.    Iowa Code § 554.2313;

            q.    K.S.A. § 84-2-313;

            r.    K.R.S. § 355.2-313;

            s.    11 M.R.S. § 2-313;

            t.    Md. Commercial Law Code Ann. § 2-313;

            u.    106 Mass. Gen. Laws Ann. § 2-313;

            v.    M.C.L.S. § 440.2313;

            w.    Minn. Stat. § 336.2-313;

            x.    Miss. Code Ann. § 75-2-313;

            y.    R.S. Mo. § 400.2-313;

            z.    Mont. Code Anno. § 30-2-313;

            aa.   Neb. Rev. Stat. § 2-313;

            bb.   Nev. Rev. Stat. Ann. § 104.2313;

            cc.   R.S.A. 382-A:2-313;

            dd.   N.J. Stat. Ann. § 12A:2-313;



                                             19
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 20 of 25 PageID #: 20




                ee.     N.M. Stat. Ann. § 55-2-313;

                ff.     N.Y. U.C.C. Law § 2-313;

                gg.     N.C. Gen. Stat. § 25-2-313;

                hh.     N.D. Cent. Code § 41-02-30;

                ii.     II. O.R.C. Ann. § 1302.26;

                jj.     12A Okl. St. § 2-313;

                kk.     Or. Rev. Stat. § 72-3130;

                ll.     13 Pa. Rev. Stat. § 72-3130;

                mm.     R.I. Gen. Laws § 6A-2-313;

                nn.     S.C. Code Ann. § 36-2-313;

                oo.     S.D. Codified Laws, § 57A-2-313;

                pp.     Tenn. Code Ann. § 47-2-313;

                qq.     Tex. Bus. & Com. Code § 2.313;

                rr.     Utah Code Ann. § 70A-2-313;

                ss.     9A V.S.A. § 2-313;

                tt.     Va. Code Ann. § 59.1-504.2;

                uu.     Wash. Rev. Code Ann. § 6A.2-313;

                vv.     W. Va. Code § 46-2-313;

                ww.     Wis. Stat. § 402.313; and

                xx.     Wyo. Stat. § 34.1-2-313.

        93.     As a direct and proximate result of Defendants’ breach of the express warranties,

 Plaintiff and Class Members were damaged in the amount of the price they paid for the Products,

 in an amount to be proven at trial.



                                                   20
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 21 of 25 PageID #: 21




                           FOURTH CAUSE OF ACTION
               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                     (On Behalf of Plaintiff and All Class Members)

        94.     Plaintiff brings this count on behalf of himself and the Class and repeats and re-

 alleges all previous paragraphs, as if fully included herein.

        95.     Defendant sold and Plaintiff and Class Members purchased the Products.

        96.     When sold by Defendants, the Products were not merchantable, did not pass

 without objection in the trade under the label description, were not of adequate quality within that

 description, were not fit for the ordinary purposes for which such goods are used, and did not

 conform to the promises or affirmations of fact made on their container or label.

        97.     Because the Products contain benzene, they in no way were safe for use as

 sunscreen products.

        98.     As a direct result of Defendants’ products being unfit for its intended purpose

 and/or otherwise not merchantable, Plaintiff and Class members were damaged because they

 would not have purchased Defendants’ Products had they known the true facts regarding the

 benzene content.

                                 FIFTH CAUSE OF ACTION
                               FRAUDULENT CONCEALMENT
                          (On Behalf of Plaintiff and All Class Members)

        99.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

 paragraphs as if fully set forth herein.

        100.    Defendants concealed and failed to disclose on the Products’ packaging and

 labeling that the material fact the Products contained benzene, and that the Products were not safe

 or healthy for use.




                                                  21
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 22 of 25 PageID #: 22




         101.    Defendants had knowledge that the Products contained benzene, and that the

 Products were not safe or healthy for use.

         102.    Defendants have a duty to disclose that the Products contained benzene, and that

 the Products were not safe or healthy for use.

         103.    Defendants had superior knowledge or means of knowledge available to them and

 knew that Plaintiff and Class Members would rely upon the representations and omissions of

 Defendants regarding the quality and ingredients of their Products.           Consumers lack the

 meaningful ability to test or independently ascertain or verify whether a product contains benzene,

 especially at the point of sale.

         104.    Defendants’ concealment was material and intentional because people are

 concerned with what is in the products that they are putting onto and into their bodies. Consumers

 such as Plaintiff and the Class Members are influenced by the ingredients listed, as well as any

 warnings (or lack thereof) on the products they buy. Defendants know that if it had not omitted

 that the Products contained benzene, then Plaintiff and the Class would not have purchased the

 Products at all; however, Defendants wanted to increase sales and profits.

         105.    Defendants’ concealment misled Plaintiff and the Class as to the true nature of what

 they were buying and putting onto and into their bodies.

         106.    Defendants fraudulently concealed that the Products contained benzene and that the

 Products were not safe or healthy for use. Consequently, Plaintiff and the other members of the

 Class have suffered injury and are entitled to damages in an amount to be proven at trial.




                                                  22
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 23 of 25 PageID #: 23




                                 SIXTH CAUSE OF ACTION
                                  MEDICAL MONITORING
                          (On Behalf of Plaintiff and All Class Members)

        107.    Plaintiff repeats and realleges each and every allegation contained in the foregoing

 paragraphs as if fully set forth herein.

        108.    As a result of Defendant’s negligence, Plaintiff and Class Members have been

 subjected to exposure to the carcinogen benzene.

        109.    As a proximate result of Plaintiff and Class Members’ exposure to benzene,

 Plaintiff and Class Members have a significantly increased risk of serious medical complications,

 including ailments such as bone marrow harm and blood cancer (such as leukemia).

        110.    A monitoring procedure exists that makes the early detection of these types of

 ailments possible.

        111.    The prescribed monitoring program is reasonably necessary according to

 contemporary scientific principles.

        112.    Defendants’ acts were willful, wanton, or reckless and conducted with a reckless

 indifference to the health and rights of Plaintiff and Class Members.

                              SEVENTH CAUSE OF ACTION
                                  UNJUST ENRICHMENT
               (On Behalf of Plaintiff and All Class Members in the Alternative)

        113.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

 paragraphs as if fully set forth herein.

        114.     Plaintiff, on behalf of himself and consumers nationwide, brings a claim for unjust
 enrichment.
        115.     Defendants’ conduct violated, inter alia, state and federal law by manufacturing,

 advertising, marketing, and selling the Products while misrepresenting and omitting material facts.




                                                 23
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 24 of 25 PageID #: 24




        116.   Defendants’ unlawful conduct, as described in this Complaint, allowed Defendants

 to knowingly realize substantial revenues from selling the Products at the expense of, and to the

 detriment or impoverishment of, Plaintiff and Class Members and to Defendants’ benefit and

 enrichment. Defendants have thereby violated fundamental principles of justice, equity, and good

 conscience.

        117.   Plaintiff and Class Members conferred significant financial benefits and paid

 substantial compensation to Defendants for the Products, which were not as Defendants

 represented them to be.

        118.    It is inequitable for Defendants to retain the benefits conferred by Plaintiff and

 Class Members’ overpayments.

        119.    Plaintiff and Class Members seek establishment of a constructive trust from which

 Plaintiff and Class Members may seek restitution.

                                          JURY DEMAND

        Plaintiff demands a trial by jury on all issues.

 WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for judgment as follows:

    (a) Declaring this action to be a proper class action and certifying Plaintiff as the representative

        of the Class under Rule 23 of the FRCP;

    (b) Entering preliminary and permanent injunctive relief against Defendants, directing

        Defendants to correct their practices and to comply with consumer protection statutes

        nationwide, including New York consumer protection laws;

    (c) An Order requiring Defendants to establish a blood testing program for Plaintiff and the

        Class, as well as to establish a medical monitoring protocol for Plaintiff and the Class to

        monitor individuals’ health and diagnose at an early stage any ailments associated with



                                                  24
Case 1:21-cv-04382-RPK-JRC Document 1 Filed 08/04/21 Page 25 of 25 PageID #: 25




       exposure to benzene;

    (d) Awarding monetary damages and treble damages;

    (e) Awarding statutory damages of $50 per transaction, and treble damages for knowing and

       willful violations, pursuant to N.Y. GBL § 349;

    (f) Awarding statutory damages of $500 per transaction pursuant to N.Y. GBL § 350;

    (g) Awarding punitive damages;

    (h) Awarding Plaintiff and Class Members their costs and expenses incurred in this action,

       including reasonable allowance of fees for Plaintiff’s attorneys, experts, and

       reimbursement of Plaintiff’s expenses; and

    (i) Granting such other and further relief as the Court may deem just and proper.

 Dated: August 4, 2021
                                                    THE SULTZER LAW GROUP P.C.

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                                               25
